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EXHIBIT A
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THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater * MDL NO. 2179
Horizon” in the Gulf of Mexico, on "
April 20, 2010 * SECTION J
*
f HONORABLE CARL J.
e BARBIER
*
= MAGISTRATE JUDGE
= SHUSHAN
*

DECLARATION OF JOHN S. CREEVY

I, John S. Creevy, respectfully declare, under penalty of perjury, that I have personal knowledge

as to the following:

1. Iam licensed to practice law in the State of Louisiana, the United States District Court for the
Eastern District of Louisiana and the United States Fifth Circuit Court of Appeals. [ am over the

age of 18 and, if called, competent to testify to the facts set forth herein.

2. Jam an attorney at the law firm of Herman, Herman & Katz, LLC, working on behalf of Class
Counsel for the Economic & Property Damages Settlement Class. In connection with my work
with Class Counsel, I have reviewed and become familiar with the Economic & Property
Damages Settlement, as amended, in the above captioned case. I have reviewed numerous claims
awards made by the Court-Supervised Settlement Program (CSSP) pursuant to that Settlement,
the briefing of appeals of claims awards by BP and Claimants, and related claims files available

through the Settlement Program portal.

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3. The document attached to this Declaration as Appendix | was created by me following review of
the November 7, 2013, Declaration of Allison B. Rumsey [Doc 11819-2] and the Exhibit A
attached to that declaration identifying certain business economic loss claims filed with the
CSSP.' I have reviewed the documents submitted to the CSSP in connection with the 64 claims
identified by Ms. Rumsey in her declaration. In particular, I] have reviewed the memoranda and
documents submitted by BP and by claimants in support of positions on appeal and any appeal

decisions with the stated reasoning provided by the Appeal Panel.

4, [have identified at least 17 claims (listed on Appendix 1) for which the Claimant has provided
evidence or argument contradicting the statements contained in Ms. Rumsey’s Declaration that
the 64 listed claimants did not suffer a loss related to the Deepwater Horizon oil spill. To the
extent that Appendix 1 contains any quotations, I have personally confirmed that these quotations

are as found in the claims file.

5. [have identified another 32 claims listed in Ms. Rumsey’s Declaration for which the claimant
argued for and/or relied upon the causation presumptions and/or objective financial causation
tests found in the Settlement Agreement (generally Exhibit 4B) in opposition to BP’s appeal of
the claim award. An additional 6 claims have not yet proceeded to the point of filing of

memoranda.

6. Of the 41 claims listed in Ms. Rumsey’s Declaration which have resulted in an Appeal Panel
decision in favor the Claimant, | have identified in the record only 14 claims for which BP sought

discretionary review of the appeal decision by the Court.

1 See RUMSEY DECLARATION (Nov. 7, 2013) [Doc 11819-2], pp.6-18.

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7. Although the Claimants’ identifying information do not appear on the Appendix to this
declaration, in order to preserve the confidentiality pursuant to outstanding orders of the Court, I

can provide the identifying information if requested to do so by the Court.

8. Of the 64 claims listed by Ms. Rumsey in her declaration, | have identified from the Settlement
Program records four claimants who appear to have been paid in aggregate over $1,500,000 for
oil-spill-related business economic losses by the Gulf Coast Claims Facility (Claim Nos. XXX23,

XXX51, XX20 and XXX62).

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 16" Day of December, 2013 in New Orleans, Louisiana.

Le.
John sfpleew

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APPENDIX 1

17 SAMPLES FROM BP’s LIST OF 64 ALLEGED “NO CAUSATION” CLAIMS

What BP Represented To The Court:

What BP Failed To Disclose To The Court:

Claim No. XXX08: ... Claimant had no
injury due to the Spill. Claimant’s decline in
revenue in late 2010 was caused by this
water damage that forced its office to close.

Claimant further addresses BP’s alternative
causation argument by explaining that it actually
had 2 locations and that following the closure of
one Office, all patients were routed to the other
office (6.8 miles away). Thus, Claimant contends
it was not completely shut down and continued
to generate revenue during the late 2010
months. Doc. ld. XXXX148

Appeal Panel: On 6/3/13, found for Claimant
and noted that, “The Claimant’s business was
not totally shut down for unrelated causes. .. .”
Doc. !D XXXX5778

Claim No. XXXX20: ...In November 2010,
Claimant’s tugboat—its only source of
revenue—was not operating because the
tugboat was undergoing major repairs
unrelated to the Spill... . Claimant did not
incur any injury due to the Spill or for any
other reason. ...

On 6/27/13, the Appeal Panel found in favor of
Claimant and noted that “... BP’s argument
concerning vessel repairs finds no support in the
record or the Settlement Agreement.” Doc. ID
XXXX1876

Claim No. XXX65: Claimant is a Zone D
nursing home facility in Central Louisiana. .
.. Almost a full year before the Spill,
Claimant shut down its facility and
transferred its license to operate the
business. Yet, the Settlement Program
engaged in the fiction that the absence of
revenue in 2010, after Claimant had closed
and transferred its license, was an injury
due to the Spill.

Claimant's Final Proposal admits that at the
facility in question, it transferred its operating
license on May 31, 2009. Nonetheless, Claimant
argues that although it shut down its “larger line
of service”, it continued to operate another line
of service at that same location, i.e., it still
earned revenues at said location. (with sufficient
revenue in 2011 to pass the V-shaped Pattern
Revenue Test) Doc. ID XXXX3226

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What BP Represented To The Court:

What BP Failed To Disclose To The Court:

Claim No. XXX51: Claimant is a hotel in
Mississippi. ... Claimant experienced a fire
in mid-September 2010 that caused the
hotel to remain closed from October 2010
until the Spring of 2011. Claimant recorded
no revenue during those months. Claimant’s
Compensation Period included October
2010. The Settlement Program created the
fiction that the absence of revenue in
October 2010 was a toss resulting from the
Spill, when in fact it was due to the fact that
the fire caused the business to shut down.

Claimant countered that it received insurance
proceeds that “replaced” the otherwise lost
proceeds during the periods the hotel was
closed.

Doc. ID XXXX763

On 6/27/13, the Appeal Panel found in favor of
Claimant, noting that Claimant fully accounted
for its business interruption insurance income in
its financial statements and that “...Claimant
voluntarily recalculated its monthly profit and
loss statements in its final proposal to apply the
insurance proceeds when they were earned
rather than when they were received which
reduced the claim by $52,877.57 in BP’s favor.
Nonetheless, 8P still contends that Claimant is
entitled to an award of $0...” Doc. ID XXXX5745

Claim No. XXX08:... Claimant’s decrease of
profit in 2010 was directly attributable to a
reduction, which took effect prior to the
Spill, in rates paid by third-party payors (e.g.
government programs and private insurers).

Claimant contends that “BP fails to consider that
all health care businesses’ financial performance
tracks the general economy and harm to the
economy results in harm to all health care
business. Rates are lowered either because of
loss of tax revenue to governmental payors,
patients and their families delay treatment, and
private insurers drop rates because they lose
enrolled members.” Doc. ID XXXX119.

On 6/28/13, a unanimous three member Appeal
Panel found in favor of claimant stating “BP's
argument that the claimant may have had some
decreased reimbursement rates does not provide
justification for not implementing the financial
process set forth in the Settlement Agreement
and confirmed by the District Court.” Doc. ID
XXXX4014

Claim No. XXX00: Claimant is a non-profit in
Florida that provides counseling for at risk
youth and their families. Claimant’s
economic performance in 2010 changed not
as a result of an injury due to the Spill—or
indeed any injury at all—but rather due to
an elective change in the matter in which
Claimant receives funding. ...

Claimant responded that, “While did
change the structure of its contract to receive
State Funding, this change actually saved

more in expenses than it cost in
revenue. if had not done this change,
the losses in 2010 would have been even greater
than they were for 2010.” Doc. ID XXXX366

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What BP Represented To The Court:

What BP Failed To Disclose To The Court:

Claim No. XXXX41: ... Claimant’s financial
documentation demonstrates that it did not
engage in farming operations in either 2009
or 2010... . Claimant could not have
experienced an injury due to the Spill—or
indeed any injury regardless of cause—as
Claimant opted not to plant crops in either
2009 or 2010.

Claimant responds that despite BP’s assertion
that it ceased farming activities in 2009 and
2010, Claimant planted wheat in the fall of
2010. Claimant also earned revenue from the
rental of his farm equipment in 2009 because
the land he leased was not available to Claimant
that year. Doc. ID XXXX7639

Claim No. XXX27: Claimant operates a car
dealership in Louisiana. ... General Motors
eliminated the Pontiac brand of
automobiles, which Claimant sold, prior to
Claimant’s Compensation Period.
Accordingly, Claimant’s losses related to the
elimination of the Pontiac brand were
entirely unrelated to the Spill... .

GM announced the elimination of the Pontiac
brand on April 27, 2009. For the period of June-
Dec 03 the Claimant sold its remaining inventory
of Pontiac vehicles. The claimant received a
wind down letter from GM on June 1, 2009
stating that it would have to close by October 31,
2010. On May 27, 2010 the Claimant signed a
reinstatement agreement with GM. From the
June 1, 2009 through the date of the
reinstatement the claimant was a Buick/GMC
dealer selling and servicing new and used cars.
The claimant was a Buick/GMC dealer
throughout the entire process without any
change in business model, Doc. XXXX6836

Claim No. XXX60: Claimant is a Zone C real
estate rental company which, prior to the
Spill, earned revenue from leasing two
properties to Saturn car dealerships. ....
Claimant’s only major sources of income,
the Saturn dealership leases, dried up prior
to the Spill because those dealerships went
out of business in 2009. In 2010, the year of
the Spill, Claimant did not earn any revenue
because it had, prior to the Spill, lost its
tenants. Claimant did not incur an injury
due to the Spill.

we

Claimant’s response: “... It is correct that the
tenants stopped paying rent the end of 2009.
However, but for the spill and the devastating
economic effects of the spill, the properties may
well have been leased during 2010. To suggest
that the only way the Claimant could have
suffered a loss is from not being paid anticipated
rents from the same tenant in past years imposes
an unsupportable condition on making a
successful claim that does not exist in the
Agreement, and which defies logic. Claimant
certainly expected to earn profits in 2010, and
may have been successful in doing so but for the
spill.” Doc. ID XXXX972

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What BP Represented To The Court:

What BP Failed To Disclose To The Court:

10. | Claim No. XXX58: Claimant is a Zone B Claimant counters that it handles mass catering
catering service and restaurant located in events for all of the restaurant group’s special
Louisiana. ... Among other services, occasions, and not merely just hurricanes. Such
Claimant provides catering to emergency mass catering includes fundraisers, weddings,
response clean-up personnel, particularly receptions, and festivals. Though Claimant
after hurricanes. Claimant’s revenue spiked | benefitted from two large catering jobs related
in December 2007 as well as to hurricanes, this does not evidence Claimant's
September/October 2008 due to Hurricanes | “line of business” as BP suggests. Doc. ID
Katrina and Gustav. ... XXXX7056

11. | Claim No. XXX48: Claimant, a Zone B Claimant argues that the subsidy in question is
emergency room physician's group hopelessly intertwined with all other revenue.
operating in Louisiana, entered into a “If you see a decrease in this account, you can
contractual relationship with a hospital bet the farm that there will be a corresponding
pursuant to which it received certain increase in revenues elsewhere in the P&Ls.
subsidies until its patient volume or billings | Which account will go up in that case would take
increased. ... The lower subsidy in 2010 a much more complicated and lengthy
was not the result of an injury due to the explanation, but it will happen by necessity.

Spill, but, to the contrary, the elimination of | There is no substantive difference between this

an agreed-to subsidy when Claimant's account and the contractual adjustments on

business expanded. ... hospital P&Ls. The Subsidy revenue line is for
reporting just one of several different types of
revenue earned under the same contract, and it
is directly and integrally related to those other
revenue accounts.” Doc. ID XXXX4748

12. | Claim No. XXXX25: Claimant is a Zone C Claimant points out that: “BP is correct that

dentist office located in Florida. . ..
Claimant did not incur an injury due to the
Spill. Rather, Claimant’s revenue declined
because of the departure of one of
Claimant’s dentists prior to the Spill.

left the practice during 2009 and
that Claimant removed him from the Annual
Report as a ‘managing member/manager.’
However, the attached Buyout Agreement and
Promissory Note proves that left
effective the 2nd day of February, 2009. Any
income attributed to would not
have been recorded in the applicable 2009 ‘Only
Benchmark Months’ of June through October.
Therefore, the variable profits being compared
from the relevant 2009 ‘Only Benchmark Period’
would be comparable to the 2010 variable profits
inthe same months.” Doc. ID XXXX1590

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What BP Represented To The Court:

What BP Failed To Disclose To The Court:

13. | Claim No. XXX40: Claimant is a Zone C Claimant argues that “after the oil spill and the
cancer diagnosis and treatment center ensuing lost jobs and fost insurance benefits the
located in Alabama. . . . Claimant numbers of patients unable to pay increased
experienced a one-time lag in processing its | dramatically, although the incidence of cancer
insurance reimbursements causing spikes in | occurring in the general population remained
revenue during the Benchmark Period—an_ | consistent.” Doc. ID XXXX6111
event that had nothing to do with the Spill
and yet inflated Claimant's award. . . .

14. | Claim No. XXX17: Claimant is a Zone C Claimant addressed the timing of revenues and
residential building construction company. | ongoing expenses of the claimant to show that
Claimant did not incur an injury due to the | claimant remained in operation during the class
Spill. Rather, Claimant’s business was in a period. Doc. ID XXXX5129
free fall prior to the Spill... . Appeal Panel: Panel ruled for Claimant on

7/29/13. “The record supports the Claim
Administrator's award which is affirmed.” Doc ID
XXXX4012

15. | Claim No. XXX33:...Claimant’s loss was Appeal Panel: “... The claimant addressed the
not a result of the Spill but appears tobe a_ | issue raised by BP regarding whether this
result of the fact that Claimant was not company was a valid business entity entitled to
actually in business. . . . compensation under the settlement agreement.

It provided a copy of a valid business license. it
presented copies of it's corporate tax returns
and P and Ls. It provided a legitimate
explanation of some of the nuances with it’s
financial statements. ... Additionally, the
financial calculations were appropriate and
consistent. There is no improper anomaly as
asserted by BP. ...” Doc. ID XXXX1355

16. | Claim No. XXX44: Claimant is a television Claimant argues that the political advertising in

broadcasting studio located in Zone A....
Claimant did not incur an injury due to the
Spill... . The decline in relative revenue in
2010 was not due to the Spill, but rather the
absence of revenue-generating elections for
the studio.

2010 actually exceeded that in 2009. Political
advertising is only one of over 29 separate
revenue line items and that political ads occur
throughout the benchmark and compensation
periods. Doc. ID XXXX680

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What BP Represented To The Court:

What 6P Failed To Disclose To The Court:

17.

Claim No. XXX73: Claimant, a commercial
leasing company located in Florida (Zone A),
... Claimant’s loss was not due to the Spill.
This award was driven by the inclusion of
commercial rental revenues in the
Benchmark Period for a space that ceased
generating revenue in September 2009,
either because the lease for the property
was cancelled or it ended and was not
renewed. This space was not leased again in
2010.

Claimant argues that, “Claimant specifically
denies BP’s assertion and actually did expect to
earn a profit on Space 107 in 2010, but could
not because of the Spill.”

Doc. ID XXXX852

